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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 RABINOWITZ, LUBETKIN & TULLY, LLC
 293 Eisenhower Parkway, Suite 100
 Livingston, NJ 07039
 (973) 597-9100
 Barry J. Roy
 Jeffrey A. Cooper
 Counsel for Debtors-in-Possession
 In re:                                                              Case No. 23-12365 (SLM)

                                                                     Chapter 11
 MASAHIKO NEGITA and YASUKO NEGITA,
                                                   Debtors.          SubChapter V

                                                                     Hon. Stacey L. Meisel

                                                                     Hearing Date: August 1, 2023 at 2:00
                                                                     p.m.


                                             ADJOURNMENT REQUEST

 1.        I, Barry J. Roy

            am the attorney for: Masahiko Negita and Yasuko Negita,

           ☐am self represented,

           and request an adjournment of the following hearings for the reason set forth below.

           Matter: Motion for Orders: (1) to Strike Masahiko Negita from SubChapter V; (2) the
           Bankruptcy Estates of Masahiko Negita and Yasuko Negita are Not Substantively
           Consolidated and Shall be Separately Determined; and (3) to Hold that Debtors are Not
           Entitled to Any Exemption with Respect to IRA and SEP IRA Accounts Listed in the
           Debtors Schedules [Docket No. 69].

           Current hearing date and time: August 1, 2023 at 2:00 p.m.

           New date requested: August 29, 2023 at 11:00 a.m.

           Reason for adjournment request: Based on the Debtors’ plan of reorganization filed on
           July 21, 2023, the parties believe that the issues addressed in the above referenced motion
           are more appropriate for a determination at the time of confirmation. The parties also
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         anticipate that additional discussions between the parties could result in either a
         consensual resolution of certain of the issues, or, at least, a narrowing of the issues. The
         Debtors, Movants, Office of the United States Trustee and the SubChapter V Trustee
         have also consented to the requested adjournment.


 2.      Consent to adjournment:

  I have the consent of all parties. ☐I do not have the consent of all parties (explain below):


 I certify under penalty of perjury that the foregoing is true.



 Date:          7/27/2023                                      /s/ Barry J. Roy
                                                        Signature

 COURT USE ONLY:


 The request for adjournment is:

 x Granted
 ☐                                         8/29/2023 at 11:00 AM
                        New hearing date: ________________________                   ☐Peremptory

 ☐Granted over objection(s) New hearing date: ________________________ ☐Peremptory

 ☐Denied



  IMPORTANT: If your request is granted, you must notify interested parties who are not
                      electronic filers of the new hearing date.




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